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                                          United States Bankruptcy Court
                                       Northern District of Illinois, Eastern Division
IN RE: Jeremy Batteast                                        )              Chapter 13
                                                              )              Case No. 22 B 00424
         Debtor(s)                                            )              Judge Deborah L. Thorne

                                                     Notice of Motion

     Jeremy Batteast                                                         Debtor Attorney: David Freydin Ltd
     18327 Holland Road                                                      via Clerk's ECF noticing procedures
     Lansing, IL 60438




On March 23, 2022 at 10:30 am, I will appear before the Honorable Deborah L. Thorne, or any judge sitting in that
judge's place, and present this motion, a copy of which is attached.

This motion will be presented and heard electronically using Zoom for Government. No personal
appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the
following:
    To appear by video, use this link: <https://www.zoomgov.com/>. Then enter the meeting ID and
password.
    To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then enter
the meeting ID and password.
    Meeting ID and password. The meeting ID for this hearing is 160 9362 1728 and the password is none.
The meeting ID and password can also be found on the judge’s page on the court’s website.

If you object to this motion and want it called on the presentment date above, you must file a Notice of
Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the motion
will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the motion in
advance without a hearing.

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons named
above by U.S. mail or by the methods indicated on or before Tuesday, March 15, 2022.


                                                                             /s/ MARILYN O. MARSHALL
                                                                             MARILYN O. MARSHALL, TRUSTEE

                                Motion to Dismiss Case For Unreasonable Delay

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed , as Debtor(s) failed to file the
required documents pursuant to 11 USC §521 , §1307, §349, and Rule 3015, and in support thereof states the following:

1.   Debtor(s) filed for Chapter 13 on 01/13/2022.

2. The debtor(s) have failed to provide an Affidavit of Compliance .

3. The debtor(s) have failed to provide copies of all payment advices or other evidence of payment received within 60 days
   before the date of filing the petition.
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4. The debtor(s) have failed to provide to the Trustee a copy of the Federal income tax return (or transcript thereof) for the
   four years preceding the filing of the petition .

5. The debtor(s) have failed to begin payments within thirty days of filing the plan as required under 11 U.S.C. §1326(a) (1).


6. The debtor(s) have failed to maintain payments to the Trustee's office as required under 11 U.S.C. §1326.

7. The debtor(s) have failed to attend two scheduled §341 (a) meetings of the creditors

8.   The debtor(s) have failed to provide required identification and or social security documentation .

9. The debtor's failure to confirm a plan in a timely manner constitutes unreasonable delay .

WHEREFORE, the Trustee prays that this case be dismissed , and for any and all other relief this court deems just and proper .


Office of the Chapter 13 Trustee                                              /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                            MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312) 431-1300
